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                        IN THE UNITED STATES DISTRICT COURT
                        FOR THE DISTRICT OF MASSACHUSETTS


 MODERNATX, INC. and MODERNA US, INC.,

                                Plaintiffs,

                        v.                                 Case No. 1:22-cv-11378-RGS

 PFIZER INC., BIONTECH SE, BIONTECH
 MANUFACTURING GMBH, and BIONTECH US
 INC.,

                                Defendants.



                DECLARATION OF WYLEY S. PROCTOR PURSUANT TO
                           OCTOBER 2, 2023 ORDER

       I, Wyley S. Proctor, hereby state under the penalty of perjury that the following statements

are true and accurate to the best of my knowledge, and that I could testify to these matters if called

to do so:

       1.       I am a partner at the law firm McCarter & English, LLP and counsel for Pfizer Inc.

in the above-captioned action. I respectfully submit this declaration pursuant to the Court’s

October 2, 2023 order, Dkt. 129, and in further support of Defendants’ Motion for Leave to File

Under Seal or Redacted Materials Filed in Connection to Moderna’s Motion to Compel Responses

to Interrogatory Nos. 7 and 8 and Defendants’ Opposition Thereto.

       2.       Attached as Exhibit 1 is a true and correct copy of a redacted version of the

document previously filed under seal as Dkt. 117, Moderna’s Memorandum in Support of Motion

to Compel Responses to Interrogatory Nos. 7 and 8 (“Moderna’s Memorandum”), and as also filed

in redacted form as Exhibit 1 to the September 29, 2023 Proctor Declaration (Dkt. 128-1). This

document bears a redaction at page 12.
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       3.      Attached as Exhibit 2 is a true and correct copy of a redacted version of the

document previously filed under seal as Dkt. 117-2, Exhibit B to Moderna’s Memorandum, and

as also filed in redacted form as Exhibit 2 to the September 29, 2023 Proctor Declaration (Dkt.

128-2). This document bears redactions at pages 9-10, 15-17, and 22-23.

       4.      Attached as Exhibit 12 is a true and correct copy of the document previously filed

under seal as Dkt. 117-19, Exhibit S to Moderna’s Memorandum, and as also filed in redacted

form as Exhibit 12 to the September 29, 2023 Proctor Declaration (Dkt. 128-12).

       5.      Attached as Exhibit 13 is a true and correct copy of a redacted version of the

document previously filed under seal as Dkt. 121, Pfizer and BioNTech’s Opposition to Moderna’s

Motion to Compel Responses to Interrogatory Nos. 7 and 8 (“Defendants’ Opposition”), and as

also filed in redacted form as Exhibit 13 to the September 29, 2023 Proctor Declaration (Dkt. 128-

13). This document bears redactions at pages 7-9, 12-13, and 15.



       I declare under penalty of perjury that the foregoing is true and correct.

Executed on this day, October 6, 2023.



                                                              /s/ Wyley S. Proctor
                                                              Wyley S. Proctor



                                 CERTIFICATE OF SERVICE

       I, Wyley Proctor, hereby certify that this document filed through the ECF system on
October 6, 2023 will be sent electronically to the registered participants as identified on the Notice
of Electronic Filing (NEF).


                                                                      /s/ Wyley Proctor
                                                                      Wyley Proctor

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